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                  Exhibit A
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                             AFFIDAVIT OF MOMODOU TAAL

I swear under penalty of perjury that the following is true and correct:

   1. My name is Momodou Taal, I am a graduate student at Cornell University and I reside in

       Tompkins County, New York.

   2. During my time at Cornell, I have established myself as a scholar, authoring academic

       articles, serving as a panelist at conferences and giving interviews to the media on

       various subjects in which I am an expert. I am also an outspoken critic of U.S. foreign

       policy, particularly regarding military and financial support for Israel. I have criticized

       various U.S. presidential administrations including that of Joe Biden and Donald Trump,

       as well as various elements of American history and culture which I believe contribute to

       inequality and oppression. I consider the actions of the Israeli government against the

       Palestinian people to constitute a genocide. I base this view on what has been

       documented and found by various international organizations, including but not limited to

       the International Criminal Court and the International Court of Justice. As per The United

       Nations special committee, “Israel’s warfare methods in Gaza consistent with genocide,

       including use of starvation as weapon of war”

   3. In addition to my criticism of the state of Israel, I am on record criticizing various

       governments that include: Governments of African and Arab majority populations and

       my own Government in the United Kingdom for their oppressive practices and policies,

       my criticism is not targeted at a particular group of people but upholding the dignity of

       human beings.

   4. As a result of the executive orders, I have been forced to change my prior speech and

       alter my patterns of interpersonal interaction. I have refrained from attending protests and
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   public political meetings, I have self-censored what I post on social media, and I no

   longer discuss politics with some associates from Cornell for fear that my words will be

   misinterpreted and reported to the government for deportation or criminal prosecution. I

   am fearful that I may be subject to arrest by immigration officials or police as a result of

   his speech. I am intensely aware that I am a target as a result of public statements by

   groups like Betar targeting me personally, as well as general attacks on democratic rights

   and pro-Palestinian speech by Donald Trump and his spokespersons.

5. As a result of the executive orders in question here, I began withdrawing from broader

   forms of public engagement, locking my X account and canceling speaking engagements

   and declining invitations to participate in public events, even though these were

   opportunities that had previously been integral to my advocacy work and professional

   development.

6. Of particular significance to me personally is the fact that I was forced to cancel travel to

   international an event hosted by Queens University in Toronto, Ontario to speak at the

   launch of my first book, The Malcolm Effect: Revisited. The event took place on February

   27, 2025, but I was unable to attend for fear of being unlawfully detained upon re-entry.

   For many years I have looked forward to the possibility of authoring a book and being

   recognized at a book launch, and I feel robbed by the fact that I was not able to appear in

   person to talk directly to individuals about my book and its contents.

7. I also fear being subjected to criminal prosecution as a result of the two executive orders

   in question here. I don’t know what type of speech might constitute a violation of either,

   and I worry even about interacting with my friends and fellow activists for fear of putting

   myself and my friends at risk of deportation or criminal prosecution.
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   8. I feel that I have been irreparably harmed by the executive orders.

   9. This ordeal has affected me considerably and it is causing undue stress to my family and

      friends in the United Kingdom and in The Gambia, who want nothing more than to see

      me graduate. With all things being equal, my preference would have been to finish my

      Ph.D. and continue my work as a scholar who works on political-economy and

      sovereignty.



Signed,

                                                   Date:
                                                           14 March 2025
